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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
────────────────────────────────────
BUSINESS INTEGRATION SERVICES, INC.,

                     Plaintiff,              06 Civ. 1863 (JGK)

          - against -                        MEMORANDUM OPINION AND
                                             ORDER
AT&T CORP.,

                    Defendant.
────────────────────────────────────
JOHN G. KOELTL, District Judge:

     This is a discovery dispute about a possible waiver of the

attorney-client privilege.    The defendant, AT&T Corporation

(“AT&T”), raises two objections to the Memorandum and Order of

Magistrate Judge Dolinger dated April 22, 2008 (the “Order”).

The defendant argues that (1) the Magistrate Judge erred in

finding that the defendant ratified AT&T regional manager James

Glackin’s disclosure to the plaintiff, Business Integration

Services, Inc. (“BIS”), of a summary of certain conclusions of

the defendant’s corporate counsel; and (2) the Magistrate Judge

erred in finding that even if the disclosure were involuntary

and inadvertent, the circumstances were such that it triggered a

limited waiver of the attorney-client privilege.




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                                   I



                                   A

     This discovery dispute has already been the subject on two

occasions of a Memorandum and Order by the Magistrate Judge,

Docket Nos. 29 and 49, and on one occasion of a Memorandum

Opinion by this Court, Docket No. 47, familiarity with each of

which is assumed.   The following factual summary and procedural

history are undisputed and are drawn from the Magistrate Judge’s

April 22, 2008 Order.

     In brief, the parties were formerly in a contractual

relationship whereby the plaintiff sold the defendant’s services

to third parties.   In 2004, the defendant decided to terminate

the contract.   On March 18, 2004, James Glackin, a regional

manager for the defendant, sent an email to representatives of

the plaintiff disclosing a brief summary of certain conclusions

drawn by the defendant’s corporate counsel with respect to the

contractual relationship.    On March 27, 2004, Mr. Glackin sent a

second email to the plaintiff incorporating the March 18 email

and containing an additional conclusion by corporate counsel.

In the March 27 email, Mr. Glackin purported to add corporate

counsel for the defendant to the email and instructed the

plaintiff to direct all further communication to corporate

counsel.


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       In 2006, the plaintiff brought suit against the defendant

alleging breach of contract and unjust enrichment.           In the

course of discovery, the plaintiff requested that certain

documents on the defendant’s privilege log be made available to

it.    The defendant invoked the attorney-client privilege as to

the contents of discussions that Mr. Glackin had had with the

plaintiff about the advice that he had received from the

defendant’s corporate counsel.        In a Memorandum and Order dated

August 21, 2007, the Magistrate Judge ordered the defendant to

produce documents reflecting the attorney analyses referred to

in the March 18 and March 27 emails, and “the communications

alluded to during deposition directing or recommending the

termination of the contract” between the parties.           (August 21,

2007 Order at 10-11.)       The Magistrate Judge reasoned that the

attorney-client privilege had been waived by the defendant as a

consequence of Mr. Glackin’s disclosure to the plaintiff of a

substantial part of the substance of the attorney’s

communications.

       By Memorandum Opinion and Order of November 2, 2007, this

Court vacated the portion of the Magistrate Judge’s Order that

found a waiver of the attorney-client privilege.           The Court

remanded the case to the Magistrate Judge for the purpose of

determining whether Mr. Glackin had had authority to waive the

attorney-client privilege.


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     On April 22, 2008, the Magistrate Judge issued a second

Memorandum and Order.    The Magistrate Judge held that while Mr.

Glackin had not had actual or apparent authority to waive the

attorney-client privilege, the privilege had nonetheless been

waived because the defendant had ratified Mr. Glackin’s

disclosure to the plaintiff of the advice of the defendant’s

corporate counsel.   The Magistrate Judge held in the alternative

that even if the disclosure were involuntary and inadvertent,

the circumstances were such that it triggered a limited waiver

of the attorney-client privilege.      The Magistrate Judge once

again ordered the defendant to produce documents reflecting the

attorney analyses referred to in the March 18 and March 27

emails from Mr. Glackin and “the communications alluded to

during deposition directing or recommending the termination of

the contract.”   (Order at 28.)

     The defendant objects to the Magistrate Judge’s findings of

waiver and the resulting order to produce documents.



                                   B

     The standard of review for a decision by the Magistrate

Judge on a discovery issue is whether the ruling is clearly

erroneous or contrary to law.     See Fed. R. Civ. P. 72(a); see

also 28 U.S.C. § 636(b)(1)(A); Collens v. City of New York, 222

F.R.D. 249, 251 (S.D.N.Y. 2004); In re Buspirone Patent Litig.,


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210 F.R.D. 43, 52 (S.D.N.Y. 2002).      An order is “clearly

erroneous” when “the reviewing court on the entire evidence is

left with the definite and firm conviction that a mistake has

been committed.”   Surles v. Air France, No. 00 Civ. 5004, 2001

WL 1142231, at *1 (S.D.N.Y. Sept. 27, 2001) (internal quotation

omitted).    An order is “contrary to law” when it “fails to apply

or misapplies relevant statutes, case law or rules of

procedure.”   Id. (internal quotation omitted).



                                  II



                                   A

     The Magistrate Judge held that the defendant waived the

attorney-client privilege by ratifying Mr. Glackin’s disclosure

to the plaintiff of a substantial part of the substance of

corporate counsel’s communications.      The defendant argues that

it never ratified Mr. Glackin’s disclosure, urging that its

corporate counsel was never aware of the disclosure, and that

the Magistrate Judge’s factual finding to the contrary was

incorrect.

     The defendant does not dispute the fact that if it ratified

Mr. Glackin’s disclosure, the attorney-client privilege was

waived.   Ratification need not be explicit and can occur through

inaction.    “Ratification . . . may be found to exist by


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implication from a principal’s failure to dissent within a

reasonable time after learning what had been done.        If a

corporation acquires or is charged with knowledge of an

unauthorized act undertaken by someone on its behalf, and does

not repudiate that act within a reasonable time, but instead

acquiesces in it, the corporation is bound by the act.”          IBJ

Schroder Bank & Trust Co. v. Resolution Trust Corp., 26 F.3d

370, 375 (2d Cir. 1994) (internal quotation omitted).        Thus the

issue in dispute is whether the defendant knew about Mr.

Glackin’s disclosure to the plaintiff.

     In making the factual finding that the defendant was aware

of Mr. Glackin’s disclosure, and the resulting finding that the

defendant’s subsequent inaction was a ratification of the

disclosure, the Magistrate Judge relied in part on the March 27

email from Mr. Glackin to the plaintiff.      In the March 27 email,

which incorporated the March 18 email and its disclosure of

certain conclusions by the defendant’s corporate counsel, Mr.

Glackin wrote: “I have added AT&T Corporate Counsel to my

response . . . . Please direct all further communication to our

Corporate Counsel.”   (Order at 15, quoting Perry Aff. Ex. 3 at

ATT000742.)   The defendant argues that corporate counsel was not

in fact added to the email, because no corporate counsel for the

defendant was visibly listed in the email as an addressee.         The

defendant contends that because corporate counsel was not


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visibly listed as an addressee, it must never have received the

email, and therefore could not have been aware of Mr. Glackin’s

disclosure.   The defendant also argues that the addition of the

defendant’s corporate counsel to the March 27 email was an

essential premise on which the Magistrate Judge’s finding of

ratification was based, and thus the inaccuracy of this premise

rendered the Magistrate Judge’s finding of ratification clearly

erroneous.

     The evidence was sufficient to support the Magistrate

Judge’s decision.   It was not clearly erroneous for the

Magistrate Judge to find that the defendant’s corporate counsel

was privy to the March 27 email, in light of Mr. Glackin’s

explicit statement in the email that this was the case.         The

defendant’s argument that Mr. Glackin must never have followed

through with adding corporate counsel to the email simply

because corporate counsel was not visibly listed as an addressee

on the actual email is unpersuasive.      The absence of corporate

counsel as a visible addressee only proves that corporate

counsel was not a direct recipient or a recipient through the

“cc” function of the March 27 email.      This is too narrow a basis

on which to hold the Magistrate Judge’s finding clearly

erroneous.    There are numerous ways Mr. Glackin could have made

corporate counsel aware of the email: for example, he could have

forwarded the email to corporate counsel.


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     The defendant relies on a dictionary definition of the term

“add” to argue that Mr. Glackin could only have meant by that

term that he was including corporate counsel in the group of

visible recipients of the email.       This argument holds Mr.

Glackin to too literal a standard.      It was not clearly erroneous

for the Magistrate Judge to conclude that Mr. Glackin used the

term “add” in a sense less precise than its dictionary

definition.   To make such an assumption was hardly “the worst

sort of rank speculation,” as the defendant would have it, in

light of the fact that Mr. Glackin explicitly stated in the

email itself that he was adding corporate counsel.

     In any event, the defendant is wrong in arguing that

corporate counsel’s receipt, in some form, of the March 27 email

was a necessary basis of the Magistrate Judge’s Order, without

which his findings were clearly erroneous.       Indeed, the

purported communication of the March 27 email to corporate

counsel was not even the first fact that the Magistrate Judge

relied upon in his Order.    Rather, the first fact relied upon by

the Magistrate Judge was the deposition testimony by Mr. Glackin

that he “[a]bsolutely[] told AT&T corporate [counsel] that [he]

had a conversation with BIS about the situation,” in response to

the question whether he had told corporate counsel “that [he]




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would be communicating to BIS about their advice.”1            (Order at 14

(quoting Perry Aff. Ex. 5 (Glackin Dep. at 287)).)            The

defendant all but ignores this evidence of ratification in its

papers, limiting its discussion to the observation that the mere

fact that Mr. Glackin communicated with the plaintiff about a

situation in which corporate counsel had been involved did not

in itself constitute a ratification of Mr. Glackin’s disclosure.

This brief analysis mischaracterizes the facts.           Mr. Glackin’s

testimony was in response to the question, “Did you indicate to

[corporate counsel] that you would be communicating to BIS about

their advice?”     (Order at 14 (quoting Perry Aff. Ex. 5 (Glackin

Dep. at 287)).)     In that context, his answer that he

“[a]bsolutely” told corporate counsel that he had had a

conversation with the plaintiff “about the situation” plainly

meant that he had told corporate counsel that he had

communicated their advice to the plaintiff.          At the very least,

it was not clearly erroneous for the Magistrate Judge to

interpret Mr. Glackin’s testimony in this way and to find it

credible.

      Moreover, because Mr. Glackin’s testimony did not depend

upon the receipt by corporate counsel of the March 27 email, but


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      Although the phrasing of the question suggests that Mr. Glackin
informed corporate counsel of his intentions beforehand, which would
potentially support an actual authority theory of waiver, Mr. Glackin’s use
of the past tense (“that I had a conversation”) in his answer indicates that
his testimony is best seen to support a ratification theory of waiver.


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instead indicated a separate disclosure by Mr. Glackin, through

a “conversation,” that was ratified by the defendant, it

represented an independent basis for the Magistrate Judge’s

conclusion that the defendant was aware of and ratified the

disclosure by Mr. Glackin of corporate counsel’s advice.

      Thus, the Magistrate Judge’s finding with respect to

ratification was not clearly erroneous or contrary to law.2



                                      B

      The Magistrate Judge ordered the production of documents

referenced in the March 18 and March 27 emails, and

“communications alluded to during deposition” concerning the

termination of the contract.       The phrase “during deposition” is

ambiguous; it is unclear if it refers to Mr. Glackin’s

deposition or all depositions taken in the course of this

litigation.    The parties have not raised this issue and any

ambiguity as to the scope of the waiver is best left to the

Magistrate Judge in the first instance.3



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      It is therefore unnecessary to reach the defendant’s arguments with
respect to involuntary waiver, because the Magistrate Judge’s ruling on the
waiver issue is sufficiently supported by the evidence of voluntary
disclosure through ratification.
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      In their papers the parties have not raised the issue of whether
persons other than Mr. Glackin made disclosures during their depositions that
constituted waivers of the attorney-client privilege, nor has this Court nor
the Magistrate Judge addressed the issue. Indeed, the November 2, 2007
Memorandum Opinion and Order of this Court vacating the first Memorandum and
Order of the Magistrate Judge identified only Mr. Glackin as “the disclosing
employee,” (November 2, 2007 Memorandum Opinion and Order at 3), and the


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